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                  IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


COMMITTEE FOR A FAIR AND BALANCED         )
MAP, el al.,                              )
                                          )

                 Plaintiffs,              )
                                          )
       Case No. ll-C-5065
          v.                              )
                                          )
       Hon. John D. Tinder

ILUNOIS STATE BOARD OF ELECTIONS,         )
       Hon. Joan H. Lefkow

et al.,                                   )        Hon. Robert L. Miller, Jr.
                                          )        (3-judge court convened pursuant to
                                          )
       28 U.S. C. § 2284)
                  Defendants.             )




                                APPENDIX 2
               TO DEFENDANTS' RESPONSE TO PLAINTIFFS' MOTION

                       FOR A PERMANENT INJUNCTION



                                A-101 thru A-ISO
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 from a low of 4,262 for Garcia in the County Commission District 16 Primary in 2006 to a high

  of 11,606 for the Circuit Court     III   Subdistrict 6.

                                      Table 3
      Total Votes Received by Latino Candidates Analyzed the Report of Richard
      L. Engstrom for Five Sub-County Elecrions District of Subdistrict Ejections

        ELECTION & YEAR                         CANDiDATE                  TOTAL VOTES

      COOK CO. BOARD D. 16                         GARCIA                        4;262
       2010DEM PRIMARY

       CIRCUIT CT. SUB. 11                       MARTINEZ                        4;416
 ~"
       20 I 0 DEM PRfMARY
                                                                    I
        CIRCUIT CT. SUB. 4                        A(jUILAR                       7,139
        2008 DEM PRIMAR Y

        CIRCUIT CT. SUB. 6                         ARAUJO                        11,606
        2008 OEM PRIMARY

        CIRCUIT C1. SUB. 6                          OCASIO                       9,555
        2006 DEM PRIMARY
          ALL ELECTIONS                                                          36,978


              14.    Taken together, the Latino candidates in 5 of the 8 elections that Dr. Engstrom

      analyzed received a total of 36,978 votes, across three Democratic primaries, in which some two

      million Cook County citizens participated. Overall, Dr. Engstrom's limited and unrepresentative

      sample does not provide an adequate basis for assessing whether voting is usually polarized

      along racial lines in elections relevant to the election of Congressional representatives in the

      Cook County fl'rjon of the stale. The issue of racially polarized voting will be examined in

      greater depth in Section \I of this report.

              15.     Only 3 of the 8 elections analyzed by Engstrom are adequate for purposes of

      assessing racial polarization within Cook County. This sample, however, is far too smaf to

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  explore the existence of racially polarized voting and vote dilution. For example, Dr. Engstrom

  did not analyze any elections for representative in Congress, the subject of this litigation and the

  most probative elections for assessing both polarized voting and vote dilution. Glaring is Dr.

  Engstrom's failure to analyze the 2008 and 20 10 primary elections for the representative of

  Congressional District 3 and the 2009 special general election for the representative in

   Congressional District 5. These three elections rlt his criteria for including Latinoand non-Latino

   candidates. All three elections are for Congressional representatives in Cook County districts that

   Plainti fts allege were diluted of Latino voters in the Adopted Map in order to protect the white

   majority. In the two primaries in CD 3 and the general election in CD 5, the preferred candidate

   of Latino voters was elected and was the same candidate preferred by non .. Latino voters. In the

   subsequent general elections that followed the 2008 and 20 I0 primaries in CD 3, the preferred

   candidate of Latinos was elected to office, with majority support from both Latino and non­

   Latino voters.

           16.      Dr. Engstrom inexplicably states that he declined to analyze the 20 I0 primary in

   CD 3 as a "non-competitive" contest because the losing Latino candidate garnered 22 percent of.

   the vote ina two-person election. However, while failing to analyze this highly relevant

   endogenous election, Dr. Engstrom does analyze remotely relevant elections that are no more

   competitive, including the 2010 Democratic primary for County Board District 16, where the

   losing and last-place Latino candidate also garnered 22 percent of the vote, and was 33

   percentage points behind the winning candidate according to returns from the Cook County

   Board of Elections. Dr. Engstrom provides no standards based on his past practice or other

   criteria for separating out so-called "non-competitive" elections. In addition, he provides no

   rationale for his failure to analysis the 2008 primary in CD 3 and the 2009 special general

                                                     14




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  election in CD 5. Engstrom also did not examine any elections for the Illinois state legislature,

  the closest substantive analogue in Illinois to elections to Congress. He did not examine any

   partisan general elections, which include many more voters than Democratic primary elections

   and arc the contests that actually send Congressional representatives to Springfield and

   Washington. In footnote I of his Report, Dr. Engstrom indicates that he plans to analyze some

   general elections, but no such elections are included in this report. (Engstrom p.3).

           17.     Four of Dr.   Ei1~strom's   elections are subdistrict judicial primaries that are only

   remotely related to the election of Congressional representatives; Another election is for a district

   position on a board with onlycounty-Ievelresponsibihties. Yet another election is a nonpartisan

   city of Chicago election conducted on a different basis and in a different election year than either

   partisan primaries or partisan general elections for Congress, That leaves only two partisan

   Democratic primaries that cover Cook County overall rather-than a county commission district or

   a judicial subdistrict.

           18.      Dr. Engstrom's sample of elections is also inadequate to assess whether polarized

   voting, if it ex ists, resu Its in a usual pattemof vote dilution in Congressional districts under the

   Adopted Plan, In his conclusion Dr. Engstromstates that the Adopted Plan "dilutes the voting

   strength of Latinos in the areas," (Engstromp. ,14.) Yet in the body of his report, Dr. Engstrom

   does not provide the district-specific analysis of the Adopted Plan needed to sustain this assertion

   about vote dilution because relevant districtsare excluded from his "area of concern," (see

   paragraph 10 above), because his sample of elections includes no Congressional contests, and

   because it includes only two countywide elections thil.t cover Congressional districts in the state's

   plan, as indicated in Table 2 above. Even if Dr. Engstrom were to extrapolate from their results

   to relevant adopted districts, two elections are not nearly sufficient to assess whether alleged

                                                        15




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  polarized voting results in a usual pattern over time of denying Latinos the opportunity to elect

  candidates of their choice in Congressional districts.

           19.     Moreover, in both of the countywide elections studied by Dr. Engstrom, the

  Latino candidate of choice prevailed in Cook County, which has only a 21 percent Latino voting

  age population according to the 20lQCensus. The issue of vote dilution will be examined in

  greater depth in Section III of this report."

           20.      Dr. Engstrom's analysis of an unrepresentative sample of 8 elections docs not

  reflect a lack of other Latino v. non-Latino elections to examine within Cook County. As

  identified in Table 1 above, there are some 20 additional recent Latino v. non-Latino elections

  within Cook County that are not analyzed in Dr. Engstrom's report and that are more relevant to

  asse.e.ing polarized voting in a Congressional redistricting case than five of the eight elections

  included in the report (i.e., the four subdistrict judicial elections and the County Commission

  district election). These additional elections include two Democratic primaries for Congress and

  one special veneral election for Congress. These "endogenous" elections for the office under

  challenge in the litigation are generally considered the most relevant and probative elections by

  social scientists and courts. Tbeadditional-elections also include 5 Democratic primariesand6

  general elections for the Illinois State Senate and State House of Representatives. These elections

  are contests for legislative positions with much greater responsibilities (statewidej.than county

  board elections. Also, the additional elections include 4 countywide partisan general elections for

  Cook County positions and 2 citywide nonpartisan elections in Chicago, all of which include

   large numbers of voters. These additional elections are.listed in Table 1. Examination of these



   4 In the 2008 primary for the County's State's Attorney, Alvarez, the Latino candidate of choice, prevailed. In the
   2010 Democratic primary for Assessor, Berrios, the Latino candidate of choice, prevailed, Bothcandidates then won
   the general election in Cook County.
                                                           16




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  Analysis of a Large Representative Sample of Relevant Elections

          27.      An analysis of voting by Latinos and non-Latinos in 23 elections is included in

  Table 5 to Table \0. These include 20 elections not analyzed in the Engstrom report, and listed in

  Table 1 above, plus the three countywide and citywide elections analyzed by Or. Engstrom, for                     a

  total of 23 elections. For countywide and citywide elections, the analysis uses multivariate

  equations to separately estimate the votingbehavior of Latinos, African Americans, and whites.

  The white category is the same as Dr.. Engstrom 's "others" and includes some Asians and

  members of other races. However, as explained above, the focus is on the voting of non-Latinos

  as 'a bloc, not on subdivisions of the non-Latino elections. This is an issue only .ina few

  elections. Fur district-level state legislative elections, where it is not feasible to analyze African

  American voting, the analysisconsiders only Latinos and non-Latinos. All                 23e~ettiohs     analyzed

  in Tables 5 ro 10 are     rOT Ccngressioneksrate legislative, countywide, or citywide positions, The
  electionscoverthe time period since the last red istricting in 200 1, although nearly-all tihe

  elections are from 2006 to 20 \1. 7

           28.      The results for the most probative elections, the 3 Congressional primaries and

  general elections reported in Table 5 below, reveal no polarized voting between Latinos and non-

   Latinos. In these elections, the prevailing candidates Lipinski in the two primaries and Quigley in

   the general election won unified support from both Latinos and non-Latinos in their contests

   against Latino candidates. Primary victor Lipinski, who won unified support [rom Latinos,

   African Americans.. andwhites, went on to win the general elections overwhelmingly, again with

   7 As exolaenedabovc in 'paragraph H~, an elecuonswithinCookCounty may be relevant given that plaintiffs'
   alternative plan fundamentally redraws the Cook County based Congressional districts. Plaintiffs' plan, for example,
   increases the Latino concentration in CD 3 under the state-passedpian, but.reduces the Latino concentration in CD 4
   and CD 8. As noted above, the state-passed plan includes three districts wlth a Latino voting age population greater
   than the countywide percentage of21 percent (CD J.. CD 4, and CP8~.Plail)tif:Ts· alternative plan Includcsrwo such
   districts (CD:I and CD 4).

                                                           21




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      "lIppOI1 from all three voter grollps according to ecological regression results. Although these

      general elections did not include Latino candidates, they are still important for assessing

                                                                                8
      opportunities for Latino preferred candidates in CD 3.

                                                  Table 5
       White, Black, &Latino Voting In Latino vs. Non-Latino Democratic Primary and General
                           EI ec tlIons, Congressrona
                                                 . ID'ISt nc
                                                           . t,S, eke
                                                                   O()  oun ty
          ELECTION &               % White      % Latino        % Black
            CANmDATE                        Voters fm'        Vo\e{$ for                v.otersfm
                                            c-andidate        Candidate                 Candidate

          210tl~ ~JR]~ ,CJO
             1Jl'EIIOS~     '0'?
                                 y- /)'
                                      ~j      52j<~             64%
                                                                          ,-­
                                                                                          4SYo
                   IP,e.n~1 {H~        il     25'%        I     211%                      25%

                                       I-
                                                          1      ;~./\l
              Bennett fWft                     II OO/f1                                   20%
  I                                           '13%)
             Cnppare:Jllj {W~                                    9%                        '8%

          2lH(} .PRIM CD 3
              Lininski( W)                    ,'8il%             57%                      76%
  I            Mu,j;ica (H)                    Il9%             43%                       24%
            20():8 'SiP:KClAJ~
          CIEN:j~IRAl£lI)    5*
                                        ,
                                                                                    I
             QuJgley leWD)                     T(%              ·60%                       N:A
               ~lulhdu  (JIR)           1
                                        i     22ro        I     35'%                       NA
 if-                                                                                ;
             1~t:H;'le:
                 ich j{WG)
                        i', 'Ii   I     ,      7%                4'%                !      HA

          *WINNERiLlSlrED FIRST, IN BOLO. THE AFRICAN
       AMIE.RlCAN POJlUILAUON AND CONCENTRATION IN CO 5
  I
  I       1.S NOT SllJFF1CJI1:N'f FQRltE\UAULE ESTif.MATiON

                   29. In state legislative primaries, results reported in Table 6 show that in 4 of 5 contested

       primaries..Latinos and non-Latinos },tad thesame choice :ofcandidates and those candidates, of

       W)[[!51:t   ,prevu:itlcd,in the election. Thus, voting was polarized along racial lines in only one ,Oin

       Congressional elections and state legislative primary elections studied. The only exception was



        8 Ecological regression analysis shows that In :lhe2008 general, iL~p'inski won ~he votes of93 ;percenl of'Latiuos, 87
       ipcrcCl'lt elf blacks and 69 ;pcrccm,ofwhites. lIn ,the20lO,general,!hc wonthevotes .of97 ipcrcentllrl..atines, 82Ipe,K'I~,nt
        of blacks ana 65 PC1'cc:n.t'D'tn;hiu:s. The populattMIln<1 catW.enlflltwn of A'fricua,Ameiic8ns fneD 5 is not sufficient
       10 reliably separate out this small group n r voters.

                                                                    22




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  in the 20 I0 state representative primary in District 23. The results reported in Tables 5 and 6 also

  demonstrate that in 7 of 8 of these elections, the candidate of choice of Latino voters prevailed.

                                            Table 6

     Non-Latino & Latino Voting In Latino Versus Non-Latino Democratic Primary Elections,

                           State Legislative Districts, Cook County


         ELECTION &              % Non-        %i.atino
         CANDIDATE               Latino        Voters for
                                Voters for     Candidate
                                Candidate

       2002 PRIM SEN 20                   -

          Martinez (1:1)           70%            53%
           Wojcik (W)              30%            47%

       2006 PRIM REP 3
          Dclgndo (J:I)            63%            82%
           Strand (W)              37%            18%
       2008 PRIM REP 3
          Arroyo (H)                65%           89%
           Strand (W)               35%           11%

 1-.
     -'2010 PRl MREP 2
          Acevedo (H)               57%           57%
          Martinez (H)              3%            40%
           Trutin (W)               21%            3%
 ,        Schultz (W)               20%            0%

       2010 PRlMRKP 23
           Burke (W)       84%       36%
           Lozano (H)      11%       60%
            Diaz (H)        3%       2%
         Meza-Zavala (H)    2%        2%
           WINNER LISTED FIRST IN BOLD



            27.     The results for state legislative general elections between Latinos and non-Latinos

     reported in Table 7 below likewise demonstrate a lack of racially polarized voting. In 5 of 6

     elections, Latinos and non-Latinos had the same choice of candidates. In the one remaining

     election, the 20 I 0 state representative primary in District 39, the overwhelming Latino candidate


                                                     23





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  111'      choice garnered an estimated 47 percent of the non-Latino vole in a two-candidate contest.

  Such minimal polarization is not politically significant in that it would not impede the

  opportunity for Latino voters to elect their candidates of choice, given the Latino cohesion of 99

  percent in favor        (It   their candidate of choice. In all 6 of the state legislative general elections

  included in Table 7, the Latino candidate of choice was elected                to   office. 9

                                                 Table 7

              Non-Latino & Latino Voting In Latino Versus non-Latino General Elections, State

                                   Legislative Districts, Cook County


               ELECTION &                 % Non-         % Latino
               CANDIDATE                  Latino         Voters for
                                         Voters for      Candidate
                                         Candidate
            2006 GEN REP 24
             Hernandez (UD)                 64%             86%
              Ledvina (WR)                  36%             14%
            2006 GEN REP 44
               Crespo (RD)                  51%             94%
                Parke (WR)                  49%             6%
             2008GEN REP 39
               Berrios (RD)                  65%           JOO%
               Karpen (WR)                   35%            0%

            2008 GEN REP 44
               Crespo (HD)                   65%            JOO%
              Borthman (WR)                  35%             0%
            2010 GEN REP 39
  _ _ OR.
               Berrios (HD)                  47%            99%
               Karpen (WR)                   53%             1%
            2010 GEN REP 44
               Crespo (HD)      51.%       75%
                Roth (WR)       49%        25%
                WINNER LISTED FIRST, IN BOLD

                 28,     The results for two cOlll1tywiQe'O~rnocratiG primary elections in Cook County

    9 An estimate of 100% docs not necessarily mean that every voter voted for the candidate, but rather that at extreme
    levels of voter cohesion, which especially occurs in general elections; the-estimate is sQ[I1j::ljmi;ls"Bl lhC maximum,
                                                              24



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  reported below in Table 8 disclose some polarization in these elections, although in neither case

  was such polarization sufficient to defeat the Latino candidate of choice in a county that is only

  21 percent Latino in its voting age population. The 2008 primary contest for State's Attorney is

  polarized in that Latinos, whites, and Afnoan-Americans differed in their choices of candidates.

  I Iowever, as indicated in the analysis above, Alvarez assembled a sufficient inter-racial coalition

  to prevail countywide. In. the 2010 primary contest for Assessor, Latinos and whites bad the

  same choices of candidates, preferring the Latino candidate Berrios, whereas African Americans

  preferred the African American candidate Shaw. When non-Latinos are combined as a group,

   Shaw is narrowly the candidate of choice of non-Latinos with an estimated 40 percent, on the

   basis of her strength with African American voters. However, Berrios and Figueroa combined

   won 60 percent of the Latino vote and Berrios, the Latino candidate of cho.ce, prevailed in the

   primary election. Thus, in two Democratic primary elections, one   WJS   polan zed along racial

   I ines, another had a mixed picture on polarization, but the Latino candidate ofchoice prevai led in

   both elections.




                                                    2S




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                                              Table 8
      White, Black, &Latino Voting In Latino Versus non-Latino Democratic Primary Elections,
                            Non-Legislative Elections, Illinois, 2002-2010

          ELECTION &                 % White                       % Latino      % Black
          CANDIDATE                Voters for                     Voters for     Voters for
                                   Candidate                      Candidate      Candidate
        2008 COOK CO.
        STATE'S ATTNY
          Alvarez (M)                     25%                            76%        15%
            Allen (W)                     37%                            23%        11%
           Suffredin (W)                  28%                             0%        19%
            Milan (W)                      9%                             1%        3%
           Brookins (B)                    0%                             0%        47%
            Brewer (B)                 2%
                                1--...._ ............._ ......
 f----"    i%        6%
        2010 COOK CO
          ASSESSOR
          Hcrrios (H)       44%       71%         27%
          Figueroa (H)      38%       29%         10%
  ~.     __ Shaw
             ..
                 (8)       -
                            18%        0%  .  --­
                                              -
                                                  63%
      WINNER LISTED FIRST IN BOLD. SHAW WAS NARROWLY

                                                      '

       THE CANDIDATE OF CHOICE OF NON-.LATfNO VOTERS

           IN THE 3 CANDIDATE ASSESSOR RAC.E WITH 40

         PERCENT. THE TWO LATINO CANPID ATES WON 60

  I
                PERCENT OF THE NON-'LA'fINO VOTE



             29.·    The results for 4 countywide genera] elections in Cook County reported in Table

      9 disclose that 3 of 4 elections, Latino, white, and African-American voters 'had thesame

      candidates of choice, all of whom obviously were elected to public office. In the fourth election

      for County Assessor, the Latino candidate Berrios was the candidate of choice of Latinos and

      African Americans and of non-Latinos overall. Like all other candidates of choice of Latinos in

      these genera'! elections, Berrios prevailed countywide.




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                                          Tabl~ 9

    White, Black, &Latino Voting In Latino vs. non-Latino General Elections, Countywide

                                      Elections, Cook County

       ELECTION &              % White       % Latino     %Bla~k
       CANDTDATE              Voters tor    Voters for    Voters for
                              Candidate     Candidate     Candidate
     2006 COOK CO.

        SHERIfF

        Oart(WD)
                64%            89%             95%
         Garza (HR)              36%            11%             5%
       2008 COOK CO.

      COUNTY ATTNY.

         Alvarez (UD)
    54%        96%       95%
         Peraica (WR)     40%         0%       2%
         O'Brien (WG)      6%         4%        3%
       2010 COOKCO.

          ASSESSOR

         BerriosfHDl
     25%        93%       88%
        Eckersoll (WR)    28%         0%        0%
         Claypool (WI)    44%         0%       10%
          Greta (WG)       3%         7%        2%
       2010 COOK CO.
  1--­
           CLERK
           Orr (WD)       66%       ,]00%      99%
          Garcia (HR)     14%         0%        1%
       WINNER LIST1E:DFIRST IN BOLD.BERRlIOSWAS THE
  i
       CANDIDATE OF CHOICE OF NON-"LATINO VOTERS IN

     TH.E 4 CANDIDATE ASSESSOR RACE WITH 46 PERCENT.



          30"     The results for 3 citywide nonpartisan elections in the city of Chicago reported

   below in Table 10 disclose racially polarized voting in only one election. In the 2007 election,

   Latino and white voters preferred the Latino candidate Del Valle, whereas African American

   voters preferred the African American candidate Jones. However, when non-Latinos are

   combined as a group they preferred Del Valle. As a result of this combined Latino and non-

   Latino support, this Latino candidate of choice prevailed citywide.in Chicago, which is only 25

   percent Latino in voting age population according to the 2010 Census.Bimilarly, in the 2011

   election for City Clerk, Latino and white voters 'Preferred the Latino candidate Mendoza,
                                                   27




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      whereas African American voters preferred the African American candidate Horton. However,

      when non-Latinos are combined as a group they preferred Mendoza. Like Del Valle, Mendoza

      also prevailed in the election as a result of this combined Latino and non-Latino support. Unlike

          the two Clerk elections. Latino and non-Latino voters were polarized in the 2011 election for

          Mayor, with Latino voters favoring Latino candidate Chico and white voters and A trican-

          American voters favoring white candidate Emanuel, who prevailed in the eiccuon. Thus. in 2 of

          3 elections (2007 and 20 II for Clerk) there was no polarization between Latinos and nou-I.atinos

          ;1::;   a group, although there were differences of preference within the non-Latino electorate. The

          Latino candidate of choice prevailed in both elections. There was racial polarization between

          l.ntinos and non-Latinos in the remaining election (20 II for Mayor) and the Latino candidate of

          choice did not prevail.

                                                           Table 10

                  White~  :Blac.k,&La<tililo Votin.~ In IJaHno Versus Non-Latino City of Chicago Elections

  I
                    ELECTJON &                % White       % Latino     % Black
                    CANDIDATE                Voters for    Voters for    Voters for
                                             Caadidaite    Candidate     Candidate
                  2007CITY ClLERK
                     Del Valle(I!)              67%           94%          37%
                      Cerda (H)                 13%            6%           4%
                       Jones (B)                21%            0%           59%
                  20HCITY CLERK
                    Mendoza (In               72%           99%             33%
      I              HDrton(B)                28%            1%             67%
      I

     20] 1 CITY MAYOR
         Emanuel (W)         61%       11%           61%
           Chico (H)         29%       57%            7%
         Del Valle (H)        9%       32%           3%
       Moslev-Braun (8)       1%        0%           24%
       2 Minor Cands (B)      1%        0%            6%
       WINNER LIST.ED FIRST IN BOLD. DEL VALLE WON 54
    .PERCENT OF THE NON-LA)[;INO VOTi~iIN 1ff,Ut.2'OO7CLERK
      ELECTlON.I\1ENDOZA WON 54.PERCENTOF THE NON­
  ,
  I        LA'!I~O VOTE: IN THE 2011CLERKELECTlON.
                                                               28



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          3 I.    Table II and Charts land 2 (see end of section) summarize the racial polarization

  analysis for the 23 Latino vs. non-Latino elections reported above. Table II reports for each

  election whether voting was polarized between Latinos and non-Latinos - that is, did Latinos and

   non-Latinos have different candidates of choice. It also indicates the name and race of the

   winning candidate, and whether that candidate was the candidate of choice of Latino voters in

   the election. The-results reported in Table 11 disclose that Latinos and non-Latinos had different

   candidates of choice in only 5 of23 Congressional, state legislative, countywide, and citywide

   elections since the last redistricting (22 percent). In two of these five elections voting was barely

   polarized. 1n the 2010 Democratic primary in Representative District 39, 47 percent of non­

   Latino voters backed the Latino candidate of choice and in the 2008 countywide primary for

   ASSessor the African American candidate was barely the first choice of non- Latino voters asa

   result of a split among two Latino candidates, who together won an estimated 60 percent of the

   non-Latino vote.

           32.     In addition, in 3 of the 5 polarized elections reported in Table II, the Latino

   candidate of choice prevailed. These were the 20 LO Democratic primary in Representative

   District 39, which is majority Latino in its voting age population, the 2008 Democratic primary

   for State's Attorney in Cook County, and the 2010 primary for Assessor in Cook County, which

   is 21 percent Latino in its voting age population. The two polarized elections in which the Latino

   candidates of choice lost were the 2010 Democratic primary in Representative District 23, which

   is nearly 80 percent Latino in its voting age population and the 2011 nonpartisan election for

   Mayor of Chicago, which is 25 percent Latino in its voting age population. Thus, there is no

   relationship between wins and losses in the few elections with polarized voting and the Latino


                                                     29



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   composition or the electoral district or jurisdiction. Overall, Latino candidates of choice

   prevailed in 21 of 23 elections studied, for a win rate of91 percent. A majority of these victories

   for Latino candidates of choice Ol:CllITCd in-districts or jurisdictions wirth less than a 30 percent

   Latino voting-age population. Thcselnclude 2 victories for Latinocandidates of choice in

   Congressional District 3 (29% Latino), I in Congressional District 5 t25% Latino), 3 victories in

    State Representative District 44 (22% Latino), 6 victories countywide in Cook County (21 %

    Latino), and 2 victories Citywide in Chicago 05% Latino). If the two general elections involving

    the Latino candidate of choice in the 2008 and 2010 Democratic primaries in CD 3 are included,

    then Latino candidates of choice prevailed in 23 of 25 elections and in 5 of 5 endogenous

    Congressional elections.




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                                         Table 11

          Summary of Racial Polarization Analysis: 23 Latino v, Non-Latino

       Congrcssional, State Legislativc, CO\1nf;ywide and. City of Chlcago Elections

            ELECTION               POLAR,IZED         WINNING       CANDIDATE
                                    LATiNOS &       CANDIDATE OF CHOICE
                                  NON~LATINOS?                      OF LAtlNOS?
            2008 PRIM CD 3                NO                        Lipinski                YES
            2010 PlUM CD 3                NO                        Lipinski                YES
       2GlJl9 SPECIAL GEN CD 5            NO                        Quigley                 YES
           2002 PR1M.SiF..N 20            NO                    Ma'rtiinez                  YES
            2ij\()6 :PRIM REP 3           NO                        nc~gado                 YES
                                                      .<                                             --
            2008 PRIM lRE.P J             NO                        Arroyo                  YES
                                      !
            20~O   PRIM :ltEP 2           NO                        Aceved«                 YES
           2010 PRIM REP 23           J   YES                        Burke                  NO

            2006 GEN REP 24               NO                   Hernandez                    YES
                           -
            2006 GEN REP 44               NO                         Crespo                 YES

  f--.
            2008 GEN RJl:P 39             NO                        Berrios                 YES
  1--'      -­
           -..
            2008 GEN REP 44               NO                         Crespo                 YES
            2010 GEN REP 39               VIES                       Berries                YES
            .WIH'GEiN REP 44              NO           ;             Crespo                 YiES
                         -
       2<008 PRIM ,COOK S1fAT'if
                                                       ,
                                          YES                       Al\Viair.ez             'YiES
                                                                                                          I


  \h'iMl~ lPjRlIl\:l COOK ASSR            YES                       Berrios                 Y£S
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         .20nCHICAGO CLERK                NO                        Mendoza                 ViES          I



         zuu CIUCAGOMAYOR                 YES                       Emanuel                  NO



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                                                   Chart 1
         Polarized versus Nen-Polartzed, Latino VS. Non-Lanno Ejections: 23
      Congressional, State Legislative, Countywide and City of Chicago ~lettions



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                                                                      • Non-Polarized
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                               Latino v. non-Iatino Elections




                                                  Chart 2

      Victories vs. Defeats for Latino Candidates ,of Choice, Larine vs. Non-Lattno

         Ejections: 23 Congressional, State Legislative, Countywide and City of

                                            Chicago.Elections

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             I!                                                          II Victories

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                                    Latino v. non-Latino Elt;ctions



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  SECTION HI: DR. ENGSTROM'S FAIL'URE T0 PROVE VOT,E DiVUTlON
  THROUGH A COMPARiSON OF ELECTQRALOPPORTUNITEES PROVIDED TO
  LA TlNO VOTERS UNDER THE ADOPTED. pLAN ANDPLAINTlFFS' PLAN

          33.     In the conclusion of his report, Dr. Engstrom states, "Based on my examination of

  the two plans, I conclude Plaintitts ' Plan demonstrates that the Adopted Plan unnecessarily

  dilutes the votes of Latinos in the area." (Engstrom p. 14).

          34.     Dr. Engstrom bases his conclusion of dilution first on his finding of racial

  polarization in the identified area. As established above, the polarization opinion is incorrect,

  and Dr. Engstrom failed to show one of the elements of a vote dilution claim, which is that non-

   Latino bloc voting usually defeats candidates of choice of Latino voters in districts under the

   state-passed plan. Second, Engstrom does not show another element of a vote dilution claim,

   which is that the Plaintiffs' plan creates an additional Congressional district in which Latinos

   comprise a majority of the voting age population. In fact, Engstrom.concedes that no additional

   Latino majority district. is created in Plaintiffs' plan-on page 14 of his report when he states ,....

   CD 3 in the Plaintiffs' Plan cannot be said to be ~ Latino majority district at this time."

           35.     In addition to Engstrom's polarization finding, Dr. Engstrom claims that he bases

   his opinion of dilution on his analysis of the "relative electoral opportunities" in the Adopted

   Plan's CD 3 versus the plaintiffs' plan's CO 3 and in the Adopted Plan's CD 4 versus the

   plaintiffs' plan's CD 4. (Engstrom at 3-4, 14). Dr. Engstrom, however, fails to conduct a

   comparative analysis of the relative electoral opportunities in the Adopted Plan's CD 3 and the

   plainriffs ' plan CD 3. Engstrom merely notes the different locations of Cf) 3 under each plan,

   the VAP percentages in both plans' CD 3 and that the increase of 40,027 in VAP in CD 3 in the

   Adopted Plan was accounted for by n.on-Latinos. Without any analysis, Engstrom concludes that

   with a Latino VAP of 46.S% in plaintiffs' plan that "Latinos would have a chance to influence

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  the outcomes of elections in CD 3." (Engstrom p.13). Engstrom does not opine, however, that

  Latinos would not have a chance to influence the outcomes of elections in CD 3 in the Adopted

   Plan.

            36.      Moreover, the plaintiffs' plan, despite its effort to concentrate Latinos maximally

   in CO 3, fails to create an additional minority opportunity district according to Dr. Engstrom's

   own conclusion. Rather he uses language usually applied to a so-called minority "influence

   district," not an effective minority opportunity district. ln the final paragraph of his report, Dr.

   Engstrom concludes that in plaintiffs' CO 3 Latinos "certainly have a chance to have an impact

   on election outcomes." However, Latinos also have a chance to have an impact on election

   outcomes in three adopted Cook County districts with a Latino population of more than 21

   percent as well as one bordering district, compared to only    two such districts in plaintiffs'
   alternative plan.

            37.      As indicated in Table 13 at the end of my report, the Adopted Plan includes three

   COOk-COW1ty based Congressional districts with a Latino voting age popuLation greater than 21

   percent. This is a reasonable benchmark percentage because Latino candidates of choice

   prevailed in all Latino vs. non-Latino elections held countywide in Cook County (see Table 11),

   which is 21 percent Latino in its voting age population. These three 21 percent plus Latino

   voting   a~e   districts in the Adopted Plan are: CD 3 (24.6%), CD 4 (65.9%), and CD 8 (22.1 %).

   Plaintiffs' alternative plan reduces the number of such districts to two: CD 3 (46.5%) and CD 4

   ~SY.5%).   Moreover, the state plan has a fourth district on the border of Cook County, CD It,

   with a Latino voting age population of 21.8 percent. There is no comprabable border-area Latino

   voting age population district in the plaintiffs' plan, which fundamentallyredraws all districts on

   the border of Cook County. Not only does Dr. Engstrom provide no district specific analysis of

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  Latino opportunities to elect candidates of their choice in these any of these districts, but he

  cannot do so because he analyzes no Congressional contests and because his sample of elections

   includes only two countywide contests. Maps I and 2 at the end of my report show the location

  of these 21 %+ Latino voting age population districts in both the Adopted Plan and plaintiffs'

   plan. Districts that are above 21 percent Latino VAP are coded red, and districts that are below

   21 percent Latino VAP arc coded green.

          38.     Engstrom's comparison of both plans' CD 4 is equally problematic. The

   Engstrom Report fails to demonstrate that Latinos are "packed" into CD 4 of the state's plan.

   Dr. Engstrom's report alleges that "CD 4 in the Adopted Plan is packed with more Latino VAP

   than necessary to provide Latinos with a viable opportunity to elect the representative of their

   choice. within it.I'(Engstrom p. J4). Dr. Engstrom does not provide a standard to distinguish a

   "packed" district from an effective minority opportunity district. He also fails to indicate that

   plaintiffs' pian did not simply "unpack" CD 4 and add its allegedly excess Latino population to a

   bordering district. Rather, plaintiffs' plan reduces the Latino voting age population in the

   Adopted Plan by only 6.4 percentage points (from 65.9 percent to 59.5 percent). Moreover, in

   comparing CD 4 in the Adopted Plan to the allegedly unpacked CD 4 in Plaintiffs' Plan, Dr.

   Engstrom used only two elections; the Democratic primaries for Assessor in 2010 and for State's

   Attorney in 2008. Based upon Dr. Engstrom's choice of elections and his analytic results, this

   analysis actually shows that CD 4 in Plaintiffs' Plan "wastes" as many votes for Latino

   candidates as CD 4 in the Adopted Plan. As indicated in Table 12, the vote for the Latino

   candidate of choice, Berrios, in the 20.10 Assessorprimary is actually 2.9 percentage points

   higher in CD 4 under Plaintiffs' Plan than in CD 4 under the Adopted Plan. Table 5 also

   indicates that vote for the Latino candidate of choice, Alvarez, in the 2008 State's Attorney

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  primary is a similar 3.9 percentage point lower in CD 4 under Plaintiffs' Plan than in CD 4 under

  the Adopted Plan. This close similarity of the two Congressional districts, based on Dr.

  Engstrom's methodology and results, refutes the notion that CD 4 in the Adopted Plan is a

  "packed" district that "wastes"   \\l\CS   as compared to CD 4 in the Plaintiffs' Plan.


                                             Table 12

    Dr. Engstrom's Results for his Aml'1ysis oftheSupport for Latino Candidates in Adopted

              CD 4 and CD4 UnderPlf\j'ntiffs'Plan (Kngs~rom 'Report, pp. 10, 12)


     ELECTION             LATINO
                        CANDIDATE
                                                0/0 FOR LATINO
                                                CANDIDATE OF
                                                                    % FOR LATINO
                                                                    CANDIDATE(S)
                                                                                        DIFFERENCE   l
                       OF CHOICE OF                 CUOICE IN           CD4
                          LATINO                CD4 ADOPTED          PLAlNTIFFS'
                          VOTERS                      PLAN              PLAN

     2010 DEM             BERRIOS                    49.8%               52.7%              +2.9%
    PRIM COOK
   CO ASSESSOR

     2010 DEM             ALVAREZ                    45;9%               42.0%              -3.9%
    PRIM COOK
   CO ASSESSOR
                      -                                                                     -




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                      39.            In addition, the so-called unpacking is not nearly sufficient to concentrate Latinos

      substantially in another Congressional district. The 6.4 percentage of Latinos that are taken out

      of CD 4 in plaintiffs' plan were not sufficient to create another Latino majority district. Rather,

       as demonstrated in my Affirmative Report, plaintiffs' efforts to concentrate Latinos in an entirely

       new CD 3 led to a race-driven redrawing of state passed districts across Cook County and border

       counties. This redrawing drains Latinos from surrounding districts and reduces the number of

       districts in Cook County and bordering areas with a Latino population of2 \ percent or more,

        from tour to two. Although Dr. Engstrom points out that the Adopted Plan reduced the Latino

       concentration in CD 3 and CD 5, he fails to note that the plan increased the Latino voting age

        population in CD 8 by 8 percentage points, from 14 percent to 22 percent, creating an additional

       district with a Latino voting age population greater than that in Cook County overall. In the

        bordering             rl~\~iol1,       the state passed plan increased CD 11 by some 12.6 percentage points, from

       9.2 percent to 21.8 percent.

                       40.            Further undermining any claim of packing, Dr. Engstrom's report states that

        Congressional District 4 in the Adopted Plan was increased "by a net of85,403 in VAP, with

        53.\ percent of that increased VAP being Latino." (Engstrom p. 9). Dr. Engstrom does not

        provide any methodological justification for this approach or provide data or calculations to

        support hislinding. His approach is also at odds-with that of the other plaintiffs' expert Dr. Peter

        Morrison. In his report, Dr. Morrison compares the Latino percentage of the voting age

        population added to CD 4 in the Adopted Plan with the Latino percentage of the voting age

        population subtracted from the district. This methodology 'accounts for all the voting age

        population inflows and outflows. Dr. Morrison found a minimal difference between these flows

        of voting age population: "The territory added to Adopted CD 4 had a 47 .2'Yo Latino share of

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  VAP. The territory formerly in 2002 CD 4 that was removed had a 40.6~"o Latino share of YAP."

  (Morrison.p, 8). Finally, even if true, the fact that the alleged inflow net of 85,402voting age

  population was slightly above 50 percent Latino does not prove an effort to maximize or "pack"

  Latino concentration in a district with more than 500,000 persons of voting age. In addition, as

   my Affirmative Report on racial predominance indicates, in crafting new CD 4, the state reduced

   the Latino voting age population in existing CD 4 from 68.1 percent to 65.9 percent, even though

   it could easily have raised the Latino voting age population in new CD 4 above its previous level

   if its objective was to maximize the concentration of Latinos in that district. An inference could

   be credibly drawn from this fact that there was an effort to avoiding "packing."

   SECTION IV: COMPACTNESS ANALYSlS

          41.     Dr. Engstrom presents measures of compactness showing that CD 4 in the state

   passed plan has low levels of compactness. He does not compare these statistics to any

   benchmark measures. Instead, without examining alternative explanations, he concludes that,

   "The most apparent reason for the bizarre.shape of CD 4 in the Adopted PLan is     a desire to create
   a district with an extremely high concentration of Latinos" (p. II). This leaping to a conclusion

   based on compactness alone is-contradicted by Dr- Engstrom's own scholarship, which stresses

   that an analysis must consider alternative explanations for any alleged departures from "so-called

   traditional principles" and consider whether Such alternative explanations "cannot be dismissed."

   In a 2002 article Dr. Engstrom stated, "Ifthe so-called traditional principles are found to be

   subordinated to racial considerations, strict scrutiny must follow. But if they arefound to be

   subordinated to partisan considerations, or presumably other 'non-racial' politicalconsiderations,

   or even if these alternative explanations for the district lines CUlUlOt be dismissed,no further

   scrutiny of the district is needed." My third report explores partisan, political, and other non­

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  racial explanations for the crafting the state passed Congressional plan.!"

          42.       Dr. Engstrom's analysis of compactness is also incomplete and inaccurate. He


  does not compare either of his compactness scores to scores for the 19910r the 200 I versions of


  CD 4. According to information conveyed by Professor Gerald R. Webster, Chair of the


   Department of Geography at the Lnivcrsity of Wyoming, the CO 4 in the Adopted Plan is more


   compact than either of the earlier versions of the district, based on both dispersion and perimeter


   scores. Moreover, according to Professor Webster, Dr. Engstrom's calculation of tile Reock


   geographic di~persion measure is off by 100 percent; the proper measure is .30, not .15. (The


   lower the Rcock score, the less compact the district.) Professor Webster's results are based on


   calculations conducted by the University of Alab.ama Cartographic Research Laboratory, a


   standard resource for such work. The Laboratory conducted their calculations twice to confirm


   their results 1 personally confirmed these results with the Laboratory as well. The Laboratory


   calculated a Reeck score of .30, compared to Dr. Engstrom's score of .15. This difference is of


   substantive significance given that analysts have recognized scores of .15 or below as the cutoff


   point for indicating low compactness. II


   CONCLUSIONS

           43.       The evidence and analysis presented in this report demonstrates that Dr.


   Engstrom's report cannot be relied upon for a complete and accurate study of polarized voting


   and vote dilution - the primary objectives of his report. Further, the study ofa large corpus of


   relevant Democratic primary and general elections, including Congressional elections, state




   [0 Richard L. Engstrom, "The Post-2000 round of'Redistricting: An Entangled Thicket within the-Federal System,"

   Publius 32 (2002), p. 64.


   II Richard H. Pildes and Richard G. Niemi, "Expressive Harms, 'Bizarre Districts,' and Voting Rights: Evaluating

   Election-District Appearances After Shaw v, Reno," Michigan Law Review, 92 (1993).

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   legislative elections, countywide, and citywide elections, shows that in the great majority of

   contests there was no polarization in the candidate preferences of Latinos and non-Latinos. In

   addition, Latino candidates of choice almost invariably.prevailed in these elections; more than

   hal f of those victories occurred in districts or jurisd ictions that were overwhelmingly non-Latino

   in their voting age population (Congressional.District 3, Cook County, and the City of Chicago).

   Thus evidence and analysis conclusively reject the propositions that voting is polarized along

   racial lines in Cook County, that non-Latinos usually vote as a bloc against the preferred

   candidates of choice of Latinos, and that such non-Latino bloc voting usually defeats the Latino

   candidate of choice. Analysis presented in this report also shows that plaintiffs' altemativeplan

   does not meet the requirement of "prong one" of the Gingles test - to create at least one

   additional district with a Latino voting age majority. Finally, analysis shows that Dr. Engstrom's

   report does not establish that the state sought to maximize or "pack" the concentration of Latinos

   in CD 4 or that race was the predominant factor in drawing this district. These last two issues

   will be examined in depth in my reply report to the report of Dr. Peter A. Morrison and in my

   third report that deals with the totality of circumstances regarding minority. voter opportunities,

   allegations of intentional discrimination, and allegations that race was the predominant factor in

    the crafting ofCl) 4 under the state's plan.12




   12 My report is based upon' facts, data, and analyses currently. available; Ifadditiona1 facts, datu; or analyses are
   elicited in the discovery of this case, I reserve: the right to supplerne!lt my report to reflecrsuch additional
   information if necessary.
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   ADDENDUM: TABLE. AND MAPS SHOWING 2J%+ LATINO VAP DISTRICTS IN
   THE ADOPTED PLAN AND IN PLAINTIFFS' PLAN

                                           Tabl.e 1'3

      Congressional Districts With a Latino Voting Age Population of 21 % ur More, State

                           Passed Plan Compared to Plaintiffs' Plan


    CONGRESSIONAL DISTRICTS                 CONGRESSIONAL
        IN STATE PLAN                         DISTRICTS IN
                              LATINOVAP     PLAINTIFFS' PLAN   LATINO VAP

           orSTRICTS WHOLLY OR PARTLY IN COOK COUNTY
             CD4                65.9%           . CD4            59.5%
             CD3                24:6%              CD3          45.6%
             CDS                22.1%
                   DISTRICTS BORDERfNG COOK COUNTY
            CD 11               21.8%




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                                  Congressional Districts 21%+ Latino VAP, Adopted Plan



                                            Districts 21 % HIspanic VAP and Over
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                                  PlaintUrs t Plan: Cook County and DQrder Districts with 21%+ Latino YAP

                                             Districts 21 % Hispanic YAP and Over




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    EXPERT REPORT OF ALLAN J. LICHTMAN: RESPONSE TO THE REPORT 0[: DR.

                        PETER A. MORRISON, PH.D.


                                OCTOBER 4, 20 It





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  Statement of Inquiry

          I.        I have been asked to respond to the ExpertReport ofPeter A Morrison

  (plainti ffs' expert, dated Septemberl d, 2011).

         2.         My expected fee in this matter is $400 per hour. I nave enclosed an updated CV

  and a table of cases in which r have provided written or oral testimony.

  Summary of Opinions

          3.        My analysis of the Morrison report has led to the following opinions.

               •	   Morrisous opinion that the Latino voting age population increased in          cn   4

                    of the Adopted Plan is incorrect.

               •	   Morrison does not provide a complete analysis of the population moved into

                    and out of CD 4 in the Adopted Plan.

               •	   Mnrrisous examination of the concentrations of Latino voters only in CD 3,

                    CD 4 and CD 5 of the Adopted Plan and ill CD 3 and CD 4 of plaintiffs' plan

                    is incomplete and does not include the proper geographic area for analysis.

               •	   CD 5 in plaintiffs' plan decreases the percentageo! Lutino voters more than

                    CD 5 in the Adopted Plan, and this fact was omitted from Morrison's report.

               •	   Morrison's report fails to analyzeand consider CD 8 and CD 11 in the

                    Adopted Plan, which increased the Latino concentrations to above 21 % of

                    the Latino voting age population;

               •	   Given that Morrison analyzes the concentration of Latinos in CD 3, CD 4

                    and CD 5 of the Adopted Plan by examining the added and removed

                    territories from those districts, it is inconsistent and indefensible from a

                    methodological perspective not to have examined the added and removed
                                                      1




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                   territories in CD 3, CD 4 and CD 5 in plaintiffs' plan.

              •    CD 3 in plaintiffs' plan increased the Latino voting age population by largely

                   draining the Latino voting age population from the 2002Cn 5,6, 7, and 9,

                   which had the effect of lowering the percentage of the Latino voting age

                   population in CD 5, 6,7 and 9 in plaintiffs' plan.

              •    Based on his prior scholarship, Morrison's report      improperl~' considers    and

                   opines on postcensal estimates of future Latino growth.

              •	   The Morrison report is a result-driven analysis, which lacks a scientific

                   foundation. it provides quantitative conclusions without uny underlying

                   numerical analysis, fails to apply methodology to the data studied, and

                   contradicts Dr. Morrison's own scholarly standards.

  Qualifications

         8.        I am a Professor 01' History at American University in Washington, D.C.. where I

  have been employed for 38 years, Formerly, I served as Chair of the History Department and

  Associate Dean or the College of Arts and Sciences at American University. Ireceived my BA

  in History from Brandeis University in 1967 and my Ph.D. in History from Harvard University

  ill 1973. with a specialty in the mathematical analysis of historical data. My areas of expertise

  include political history, electoral analysis, analysis of redistricting plans, and historical and

  quantitative methodology. I am the author of numerous scholarly works on quantitative

  methodology in social science. This scholarship includes articles in such academic journals as

  Political Methodology, Journal of Interdisciplinary HistOry, International JOllrnt\1 ofForccasl'ing,

  and Social ~ienceHistory .. In addition, I have coauthored Ecological Inference with Dr. Laura

  1.angbein, a standard text on the analysis of social science data, incl uding pcliticalinformatlon.

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 have published articles on the application of social science analysis to civil rights issues. This

  work includes articles in such journals as Journal of Law and Politics, La Raza Law Journal,

  Evaluation Review, Journal of Legal Studies, and       Nationall~aw   Journal. My scholarship also

  includes the use of quantitative and qualitative techniques to conduct contemporary and

  historical studies, published in such acadernic jeurnals as The PrOGccdil'lgs onhe National

  Acadern Y of Sciences, The AmericnnHistorical Review, .Forecast, and The Journal of Social

  History. Quantitative and historical analyses also ground my books; Prejudice and the Old

  Politics: The Presidential Election of 1928~ The Thirteen Keys to th(~ Presidency (co-authored

  with Ken DcCell), The Keys to the White House, and White Protestant Nation: The Rise of the

  American Cl)nscrvlltive Movement. My most recent book, White Protestnnt Nation, was one of

  five finalists for the National Book Critics Circle Award for the best general nonficrion.book

  published in America.

         0.       J   have worked as a consultant or expert witness for both plaintiffs and defendants

  in more than seventy-five voting and civil rights cases. These include several cases in the state' of

  III inois. Among other cases, l.resrified for the prevailing parties in King \'. Board ofElections,

  the challenge ro the post-1990 congressional redistricting plan that led to the creation of the first

  l.atino-majority district and in Campuzano v. Illinois Board ofElection the statewide challenge

  to the post-2000 redistricting plan for state legislative positions. In King, T testified on behalf of

  plainti nil and in Campuzano on behalf of defendants. In the 2003 congressional redistricting Case

  that became the U. S. Supreme COUlt case, League        of United Larin Am. Citizens (LUI..AC) v.
  l'erry. 54)) U.S. 399 (2006), the majority opinion written by Justice Kennedy authoritatively

  cited my statistical work several times. I was also an expert witness in the case of Garza v. eil)'

  ofLos Angeles. 756 F.Supp. 1.298 (1990); WhCI'C the Court found intentional discrimination

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 against Latinos. In many cases,          J   have analyzed the demography of congressional redistricting

  plans. My work includes more than a dozen cases for the United States Department of Justice

 and cases for many civil rights organizations.l have alsoworked as a consultant or expert

  witness in defending enacted plans from voting rights challenges. A copy of my resume and a

  table of cases are attached as Appendix I of this report.


  Data and Methods

                10.    The analysis in this report relies on standard data utilized.in social science. This

  data includes reports showing the total population, Latino population, voting age population and

  Latino voting age population for existing districts, districts in the state passed plan, and districts

  in plaintiffs' alternative plan. It includes core retention reports showing the inflow and outflow

  of these demographic groups from existing districts to new districts in the state: passed plan and

  plaintiffs' plan. It includes reports on split precincts in districts ofthe state passed plan-and the

  plaintiffs' plan, It includes maps showing the flow of voting age population and Latino voting

  age population into .m out of congressional districts. All data and maps were obtained from the

  Sl:llr o j'   the Red istricti ng 0 nice of the III i nois Speaker of the House of Represcniuti ves. Th i s

  information \\ a~ obtained electronically.

  I.            PROBL.EMS IN MORRiSON'S ANALYSIS OF CD 41N THE ADOPTED PLAN.

                I I.    The Morrison report violates an essential requirement of scientific study: that an

  investigator not alter his methodology either to avoid certain results or to generate others. Tile

  Morrison report alters its methodological approach to analyzing changes in district populations

  and also alters the standards set by Dr. Morrison in his published scholarship.

                12.     Dr. Morrison applies different methodologies to studying population changes in

  CD 3 and CD 5 as compared to CD 4 in the state adopted Congressional plan. This is not a minor
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                                       · .""",,,, ''''>'''''''''''''' , .• , """""••, " ' . _   '   ""'''.'- "'""   "."_.•• ,••,,"'''''''   ,'''._._   '   ,,   '''   "   ,•.• ,,,,,"''''.,,,, •••',-''', .., , , , , ' ' ' _ . _ - ' ' ' , , , , - - ­

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  adjustment, but a shift in procedure that shapes his analyses and conclusions. In analyzing CD 3

  and CD ), Dr. Morrison properly uses the benchmark 2002plan for comparing changes in the

  districts' percentage of Hispanic voting age population. For example, with respect to CD J he

  stales, "The 2002 CD J has a voting-age population (VAP) that is 29.3% Latino, based on 20 10

  census figures. In the Adopted CD J. Latinos comprise 24;6% of the VAP." (p, 8). However,

  with respect to CD 4, Dr. Morrison ignores the 2002 benchmark district. and instead compares

  the Latino voting age population in CO 4 under the stare adopted plan 10 the Latino voting age

  population in CD 4 in the post-1990 plan, stating, "The Latino share of voting-age population

  C'VAP") in CD 4 has increased from 59.2% in the post-I 990 CD4 to 65.9% in Adopted CD4."

          r
  (p. 8). I Dr. Morrison had consistently followed his methodology and compared the Latino

  concentration in adopted CD 4 to the benchmark CD 4 in the 2002 plan he would have reached

  Lile contrary finding that the state reduced the Latino share of the voting age population in this

  district from 68.1 % to 65.9%. Thus, the rise in the Latino concentration in adopted CD 4

  occurred-prior to the drawing of the 20 II congressional redistricting plan.

          13.     Dr. Morrison also shifts his analysis of Cl) 4 as compared to CD 3 and CD 5 in

  yet another way. For CD 3 and CD 5 he provides a border analysis. complete with maps showing

  tile Latino concentrations of territory sh i fredin and out of these districts from other districts in

  the benchmark 2002 plan. However, Dr. Morrison provides no border analysis and no maps for

  CD 4 under the state's plan. even though the alleged concentration of Latinos CD 4 is the focus

  of piainti1'1:<;' complaint. Thus. his analysis of CD 4 in the Adopted Plan is incomplete according

  to Dr. Morrison 's own methodology.

          14.     Further, with respect to CD 4, Morrison concludes only that, 'The territory added

  to Adopted CD4 had a 47.2% Latino sharcofVAP. The territory formerly in 2002 CD4 that was

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  removed had a 40.6% Latino share of YAP:" (p. 8). He does not, however, present the data or

 calculations that produced his findings abour the inflow and-outflow of Latino voting age

  population in state passed CD 4. Given that only about 30.6 percent of new CD4 comes from

  outside the 2002 version, this small differential of 6.(j percent amounts to only a two percentage

  point difference in the Hispanic YAP percentage within new CD4 (6.6%·.306=2.0%),1

            15.    After analyzing the changes in CD 3, CD 4 and CD 5 in the Adopted Plan, Dr.

  Morrison reaches an erroneous conclusion. He no longer assesses the changes in District 4 by

  comparing the Adopted Plan to the post-1990 plan. Rather, he incorrectly concludes without any

  qualification that the Latino voting age population in CD 4 in the Adopted Plan increased.

  II.  OR. MORRISON'S EXAMINATION OF IRE CONCENTRATIONS OJ? LATINO
  VOT.ERS ON.L Y IN CD J,CD 4 AND cbs OF THE ADOPT.ED .PLAN AND IN CD 3
  AND cn 4 OF PLAINTIFFS' PLAN IS INC(JM.PVETEANJ> nO]~S NOT INCLUDE
  THE PROPEH GEOGRAPHIC AREA 'FOR ANALYStS.

            16.     In analyzing the concentrationsof Latino voters in the Adopted Plan and in

  plaintiffs' plan; Dr. Morrison improperly limits the districts in each plan that he considers. The

  proper geograph ic area for analysis ofconcentrarions of Latinos voters is broader and includes

  districts in Cook County and bordering Cook County. given that the Latino populations in a

  number of the excludeddistricts is larger than 21 % and given that plaintiffs' plan fundamentally

  redraws Congressional Districts in this region of the stale; which impacts concentrations of

  Latino populations beyond just CD 3, CD 4 and CD 5,

            17.     Dr. Morrison focuses on reductions of Latino voting age population in CD 3 and

  CD 5. However. he fails to indicate that the Adopted Plan also increased the Latino


  I Dr. Morrison's resultscannot be replicated because heprovides no data and calculations. My own calculations
  indicate that that the Latino voting percentage in the outflow from existing CD 4 is 41.2 percent, nor 40.6 percent,
  slightlynnrrcwing the.gap reported by Dr.Morrisoh. According to data provided by the Illinois Redistricting Office,
  83.442 persons of vDling age moved out crfcxisting CD 4, including 34,377 Latinos, for a percentage of4' .2%
  Latino.
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 concentration in CD 8 in the Cook County by 8 percentage points, from l-l.lpercent 1022. .1

 percent. and the Latino concentration in CD II in the bordering region hv 12.6 percentage

 points, from 9.2 percent to 21.8 percent. As a result, the state passed plan retains in the Cook

 County ami bordering region four congressional-districts with Latino voting age population in

 excess of Cook County overall (2l percent) -- a reasonable benchmark given the success of

 Latino candidates of choice in the county -. whereasplaidtiffs' plan retains two.suchdistricts.

 Table I displays these districts for both plans, Maps Land 2 show the location of these districts,

 with districts that are above 21 percent Latino YAP coded fed and districts thar are beio\v 21

 percent Latino V . \ P coded green. Significanrly, Morrison also fails to-report.thai the Latino

 concentration in the 2002 CD 11 is reduced from 9.24 percent to 4.78 percent in CO II of

 plainriffs' plan.

  18.    Notonlydoes Dr. Morrison failtocousiderthe Latino concentrationin districts other

 than CD 3, CD -land CD 5, but heimproperly excludes any consideration or even reference to

 CD 5 in plaintiffs: plan. AltJJoug11 one ofhfsonJy conclusions. is that CD· 5 in theAdopted Plan

 decreases the Latino share of VAP,he.fails to consider or even mention what happens to the

 Latino VAP in CD 5 of.plaintiffs' plal).C05inplainliff$'pJandecreasesthe percentage of

  Larine voters' more thaneD"5 inthe   Ado~ted Plan    (by 12.2 percentagepoints, from 24.6% to

  \2.4%\), and this fact was omitted from Mofl'isbn·'sreport.




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                                           Table 1

     Districts with a Latino Voting Age Population Greater than 21 Percent, State Passed

     Congressional Plan Compared to Plaintiffs' Plan, Cook County and Border Region


                            DISTRICTS                     IN $TATF,: PLAN 2 1%+ LATINO YAP
                 --~_¥.-




                                       DIST'RleT                         LATINO VAPPERCENT
                -"                              CD 4                              65;9%
                                                CD 3                              24.9%
                -_..•._.......                                ...            ..
                                     - ·.CD 8                                     22.1%
                                                                                             -
                                              CD         11                       21.8%'4<
                        DISTRICTS TN PLAINTIFFS' PLAN 21 %+ LATINO
                                           VAlj
                1----.-:.
                                       DlSTRICJ'                         LA11NOVAPPERCENT
                                 ~''''''''''''.---




                 ----- CO 4                                                       59..2%
                ! " - ' - ._ _.                 CD 3                              46.5%
                                                     ¥
                                                         D'ISTRJCTIN BORDERREGION




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                                        Map 1

       State Passed Plan: Cook County and Border Districts with 2] %+ Latino VAP


                          Districts 21% 'Hispanic VAPand Over
                                                PA97..Q014




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                                          Map2

        Plaintiffs' Plan: Cook County and Border Districts with 21%+ Latino YAP


                   Districts 21 % Hispanic VAP and Over

                              Republican 'PairMap' Proposal





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  Ill.    DR. MO..R RISON'S .F AILURE TO CONDUCT ANYANALYSJS REGARDING
   CD 3, CO 4 ANDCnS IN"PJ.JAfNtIF,FSl :pl.A'N AN1)THEsEInstRtcts,' £F,F,E'c:T ON
  . L ATINO CONCENTRATIONS IN BOROEIUNGD;[STRICTS~"

         19..     Dr.. Morrison's comparison of Latino concentrations under both plans lacks ;I

  consistent approach in that it attempts to.analyze the Latino concentratlcnin CD3. CD 4 and CD

  5 of the Adopted Plan by examlnin~ Latino V APperceritagesin added and removed territories,

  hut docs not provide any such analysis for CD 3 and CD 4 in pl!lintifl1;'plan. Morrison simply

  reports the Latino VAl' percentages in CD 3 and CD 4 of plaintiffs' plan: 4:6.5% and 59.4%

  respectively. Unlike his analysis of the Ado..p tedPlan, Morrison does.. not explain the inflowsand

  outflows of plaintiffs ' plan andprovides.no maps foranulysiaGiventhat Morrison analyzes the

  concentration of Latinos in Co, 3,j:04,.l:ll1d CD S'of the AdoptedPlan by examining the added

  and removed territories from those-districts,   it is inconsistent and indefensible. from a

  methodological perspective not to have ex~miriedthe added and-removed territories in CO 3. CD

  4 and CD 5 in   plaintiffs' plan.

         20.      CD 3 in plaintiffs' plan is createdby captuting.the northern component of

  previous CD 4nnd adding population from previous CD 5, CD 6. CD 7, and CD 9: By splitting

  exi..sting CO 4 into north/southcoruponents, plaintiffs' CD 3 keeps the southern concentration of
                                                                                                                                                   .I


  Latinos in CD 4 in plaintiffs' plan. CD 3 in plaintiffs' plan increased the Latino voting age                                                    I
  populationby jflr.. gcly draining theLatino voting-age population fromthe previous CD 5, 6, 7.

  and'9, which had the effect oflowering the percei1ta~e ofth,eLEitlOo voting.age population in CD

  S, 6, '7 and 9in plaintiffs' plan. The LatilloV AP is re,ducecl:fl"<lm24;~pl}r<:entin'20b2.CD 5 to

  12.4'pei-centlo CD 50fplaint.ffs" plan. the Latino VAPi,sreduced·fromI5.3 percent in 2002

  CD 6 to 13.9 percentinCl) 6 of piaintiffs' plan. The Latino VAP is-reduced from 8.0 percent in

  2002 CD 7 to 6.1 percent in CB 7 of plalntiffs' plan. The Latino VAP is reduced from 10.94

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  percent in 2002 CD 9 to LO.I percent in CD 9 of plaintiffs' plan, Table 2 summarizes these

  reductions ill Latino voting age population in these four districts under Plaintiffs' Plan.

                                          Table 2

  The Latino Voting Age Population of2002 Congressional Districts 5, 6, 7, and 9 Compared

  to the Latino Voting Age Population of Congressional Districts 5, 6,7, and 9 in Plaintiffs'

                                           Plan


   CONGRESSIONAL                        LATINO VAP IN
                                                             LATINO YAP IN
                                                              PLAINTIFFS;          DIFFERENCE
      DISTRICT                           2002 VERSION
                                                                 PLAN
  ---_ _._­
          ..             _ _.n ••   ,




               COS                         24.56%                12'.35%                 -12.21%
                                                                                            -
               CO 6                        15.31%                :13.92%                  -1.39%
                     -                                           6;\ 1%
               CD7·                         8.04%                                          -1.93
                              -­
               C09                  I       10:94%               10.13%                  . ~O.81%

         21.          Map 3 below traces the population flows.into CD 3 of plaintiffs'   plan as described
  above. On Map 3.. areas in red are greater than 50 percent Latino, whereas areas in green are 50

  percent or less Latino. Map 3 shows that plaintiffs have concentrated virtually every area of red'

  territory within their CD 3 rather than surrounding districts. In analyziri~ CD 3 under-plaintiffs'

  plan Dr. Morrison provides no such map display as he does        for CD:3 under the state passed plan.




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                                           Map3

    l nflow of Census Blocks to Plaintiffs' CD 3 From Surrounding Districts: Red == Blocks

                50(10+ Latino In V 'P, Green == Blocks SO'~,;) or Less Latino VAP





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  IV.  l'Jtf. MORRISON REPORT CONT,RADICTS .DR MORlUSON'S OWN
  STANOA&OS.

           22.         Dr, Morrison'sanalysisin his report isalso inconsistent with the standards he

  estahlished in his prior scholarship. Both Dr. Morrison andl were expert witnesses in the Garza

  case in Los Angeles County. Lresrified on behalfofthe Garza piaintiffs and Dr. Morrison on

  bebull'of'the County. Inhis testimony and a follow-up scholarly article: in Evaluation Review,

  Dr. Morrison maintained tbat the: proper basis for analysing.Latino COncentration in a legislative

  district is nctpcpularion orvoting age population, but citizen voting age population. He even

  Look the position thatcitizen voting lIge population, not total population, should be the basis lor

  crearing legislative districts under the one-person. one vote doctrine. In his Evaluation Review

  article Dr, Morrison states: "The distribution of totalpopulation maynoraccurately mirror the

  distribution oficlrizens. Using total population as the.appottionrnenr'base blUY serlouslyo\!,er-Or

  undervalue the individual vote cast by ri Citizen residinl:t1ncine or enotherdisrricr.v ' Yet, in his

  report, Dr. Morrison provides no analysis ofcitizen voting age population in any Congressional

  district, in either the state passed pHlli or plaintiffs't1lteri131iveplan.

           23.         In his Garza testimony andasecond follow-up article iilEv((luationReviev.' Dr.

  Morrison also strongly warns against the-use of postcensal population estimates in evaluating

  legislative districts. This second article. co-authored with William 1\. V. Clark..his co-expert in

  the   GClrzt/c~cSe   is entitled.   "Shollld~he   Court Rely on Postcensal Estimates for Redistricting?"

  and the, nurhors give their answer as a declslve no. T11~Bl.Itl1o(~~lat~. "Even using the best

  population estimates can~eri()w~Jy mis~~adcpurt;s and'pJaYh~ V9c:; with the:<Cpnstilutiona.l ~la11dRte




  2 Williom A. V. Clark and Peter ,A. Morrison, "Dernogrnphic Paradoxes iit the Los Angeles Voting Rights Case,"
  Evaluation Review i 5 (I C)'91 );p. 722.                          '
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  lhat one person is entitled to one vote."] Yet.in.his current report, Dr, Mcrrisonviolates his own

  stricture in several ways. He projects thepostcensal Latinogrowth                      iIi   popujarionincomrnunities

  within Cook County as well as Latino population percentages through 20 l-S, He also relies on

  postcensal estimates to-project the future voting age percentage of Latinos within plaintiffs' CD

  3. which is 46.5 percent Latino voting age according to the 20 10Census. He does not, however,

  report the rimelinefor when he projects the Latino share ofthe VQtjl~gage population to rise to

  50 percent, Moreover, in cSlimatirll?> changes in the Latino-percentage ofvoting age population in

  alternative CD 3 1 Dr. Morrison relies only on the current.percentageof Latinosin the under 18

  population. without considering the many other factors that could-affect district's future

  demography, such as the out-migration and in-migration of population groups, and the death

  rates of variousgroups.etc, tIe also provides.no               e.stiIi1a~e,softhe   present or future citizen voting

  age population in thisorany-otherdistrict.

  CONCLUSIONS

             24.        The Morrison report is H resulr-driven analysis, wh.ich lacks n scientific

  foundation. II provides quantitative coucluslons withoutany underlying numerical analysis, fails

  to apply methodology to the data studied, and contradicts Dr. Morrison's own scholarly

  standards.         Dr. Morrison: provides an incomplete analysisofCD'4 in t:he.Adopt~dPlan that

  contradicts his approach: tQ!~nalytingoth~r districts. hlcd(;je5 nor provide a. complete assessment

  01' the inflowsand outflows of population for th is district and preseqtsth,c incorrect conclusions

  that the state increasedthe-Larino votingage populationinCD 4 ofthe Adopted Plan. The

  Morrison report's examination of'the ccncentrationsofLatino voters erilyin CD 3, CD 4 and CD

  .5 of the Adopted Plan and in CD 3 arid CD 4ofplaii1riffc;' planis an. incomplete comparison and

  ) Wi II iarn A.V . Clark nnd Peter A. Morrisoll,'!$1i6uldthe Court Re!yoil.j)t)'stc.ensiil £stiftllites   for Redistricting?"
  EI'CJ!UClI;o/i Re..vi(jw   15( 1991),727.
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 analysis of the two plans that improperly liniits thepropergeogi'aphic'. area for analysis. Dr.

  Morrison omits from his report thefact that CD 5 in Plaintiffs' plan decreases the percentage of

  Latino voters more than CD 5 in the Adopted Plan. Morrison's report also fails to analyze and

 consider CO 8 and CD II in tht' Adopted Plan, which increased the Latino concentrations to

 above 21 % of the Latino voting age population, Given that Morrison analyzes the concentration

 of Latinos in CD 3, CD 4 and CD Sof the AdoptedPlan.by eXan"lningth~ added and removed

  territories from those districts, his inconsistent andiudefensible from a.methodological

  perspective not    to   have examined the added andremoved territories in CD J, CD 4 and CD 5 in

  plaintiffs: plan. CD 3 in plaintiffs' plan increases the Latino voting age population by largely

  draining the. Latino voting age population from the previeusCl) 5, 6, 7,and 9, which had the

  effect of lowering the percentage of the Latino voting age population in CD 5,6, 7 and 9 in

  plaintiffs' plan. Finally, Mqrtison',s report contradicts hisown scl~olarShip inno['unalyzing

  citizen voting age population and basingopini9ns onposteensa] estimates.cffuture
                                                                              .   .
                                                                                   Larine.



  population growth."




  Lj My report isbased upon facts, data, and analyses currently available. If additional facls;daia, cranalyses tire
  el idled in ihe disCOVCI)' Of Ihis case, I rl.'SeTvc ihcrighi losupplemcTltrTlyreport to ref1cc:tsu~;h additional
  in formution i f necessary.                               .                  ,
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      Executed on October 4, 20\1 :




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            RESPOI~SE OF ALLAN J. LICHT,M,ANTQ8E..8,;LLIIA1L RtEoP;OJ3IS OF

                   RICHAR0 J. EI~ GST ~ OM AN'[D]PETE R'ff.. :lvHj RJi{WS'ON





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  Statement of Inqulry         a8~   Organization

           T.b'js report responds    1;0   new di.s.c·jp~~\Ires of the   dalla   re.ll1'td   UpOllTI   byplairrtlrflfs'expcC1$

  Richard L Engstrom regar,tl,il1g his electoral analysis. These disclosures were received on

  October 19,20 J 1, the day that Dr. Engstrom submitted his ResponssRepor; This                                   report also

  responds 10 substantial new electoralanalyses presented inDr. Engstr<Ui11"s Response Reportas

  well as other new mat~'ri~lI.It ulsoreportson recently.available citizenship data from-the U, S.

  Census   'FlufC<1'U   that wasreleased in.lste September          20.~.\   and Peter A.Morrlson's opinions on

  citizenship data.

  Summary of Opinions

            My analysis has, resultedin.the following. opinions.

               •	       0 r. Engstrom's electoral analysis provides no insight into whether the State

                    or nlin()l<i~ Adopted Plan 10r Congressional districts diminished the

                    opportunities of Latino voters to elect candidates oftheir choice to

                        Congressional offices.

               •	 Dr. Engstrom's methodology explicitly excludes such iO,siglit.

               •	 Dr. Engstrom's updated sample or elections remains lirnit~d and

                        unrepresentative of Congressional elections.

               •	       Analysis continues to Show ,a lack of polarized voting. and of non-Lattnobloc

                    vottnq sufficient to defeat Latino candidates of choice.

               •	 Dr. Engstrom's updated electoral analysis does not sustaln allegations of

                    "packing" in Adopted CD 4 as compared to plaintiffs' CD 4.

               •	 Dr. Engstrom's new analysis rails to refute the finding that as compared to

                        Adopted CD 4, the construction or plaintiffs' CD 3 waspredornlnantty driven
                                                                2



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                 by race.

             •	 New data from the U. S. Census Bureau sustains rougll proportionality in

                 Illinois tor l auno voter opportunities in Congressional districts.

  Dr, Engstrom's Electoral Analysisis.Limited and Biased in its Scope

         Dr. Engstrom's initial report indictltesthat his "area of concern" includes CD 4 in the

  Adopted Plan 1iJid CD 3 and CD 4 in. Plaintitls' Plan. The report does not Slate explicitly whether

  his electoral analyses include full results for jurisdictions and districtscontaining or overlapping

  his area ofconcern or whether be is selecting only a subset incorporateo within the'tarea of

  concern." His staristicaltables (tables 1 and 2" pp, 16-17), upon which experts typically rely,
                                              ..             ..       1','
  suggest the former interpretation. Table! is labeled, "Multivaniare.Analyses of County-Wide

  Elections and Chicago MayoraIElectiori~'and Table 2 "Bivariate Analyses of District and

  Subcircuit Elections.fThere is no indication thatthe analysis is restricted to billy a portion of the

  county, city, or district under study. Moreover, thefact that plaintiffs plan fundamentally

  redraws.all districts in the Cook County and that plaintiffsccmplaintalleges vote dilution in

  Adopted CD 3 andCf) 5 also suggests an analysis that broadly covers Cook County.

         The-resolutionseems to have been foundin disclosures of the actual election data lipan

  which Dr. Engstromrelied. 'Ihese'disclosures.received-a few days aftersubmission ofhis Initial

  report, included aII precincts for all elections; whether conducted county-wide.iciry-widc or

  within a district. ThUS, it appeared that the analysis was not restricted to certain selected

  precincts. since no such precincts wereeliininated 01" depicted-in thedisclosure,

         The new disclosures received on October [9.2011 werestrikingly different, These

  disclosures for the first time shOW\:;9 that for each election Dr. Engstromhad eliminated precincts

  that did not Call within his "area of concern." Thus the actual basis for Dr. Engstrom'selectoral

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  analysis was properly indicated on Iy with thesecoiid set 61' disclosures ...

          These new disclosures account for the large.discrepancy noted in my-response report

  between actual votes cast in the 2011 Chicago mayoral election and Dr. Engstrom's ecological

  inference estimates. These new results also indicate how unrepresentative the selected "CIrca of

  concern" is or any actualjurisdiction. The disclosures, however, do not account for the

  discrepancy between Dr. Engstrom's estimates and actual returns in the 2006 judicial primary in

  sub-circui t 6. Dr. Engstrom's estimates for Latino candidate Ocasio remain too high for acrua I

  results even withinhis selected precincts and his confidence intervals stillgive impossible

  results. (sec Lichtman Response Report, pp. 18-20a09 Engstrom Response Report pp. 6-8).

  Dr. Engstrom's Methodology Cannot Assess-Whether the Adopted Congressional Plan
  Dilutes Latin(j Voting'Strength. .

          Dr. Engstrom's methodology turns upside down theapjJropriateprMedul'(:' for assessing

  w he the r the Adopted Congressional Plan i mpedesopportunities for.Letino voterstoelect

  candidates.of their choice 10 Congress. Dr. Engstrom.limits his electoralanalysis within the

  Adopted Plan only 1.0 CD 4. However, he contends tih[lt CD 4 not only provides Latinos effective

  opportunities La e lect candidates of choice,but is "packed' with an excess of Latino voter

  strength.. It allegedly'vwastcs" LBti110 votes, However, ifpoJitjcally significant, those "wasted"

  voles in Adopted CD 4 must haveprevented Latino 'Voters in other Adopted districts from

  opportunities to electesadidates 'of theirchoice. Othenvisc, the aJleged coneenusnon of'Latinos

   in Adopted CD 4 doc. not produce     1I1L'   vote dilution alleged in Counts 1-3 of Plaintiff s



          Proof of SUGh .volcGlihHiotl.reqtrires atwo-stage flO~1lYsis~ HI'Sl, analysis must

  demonstrate thaI in cbaUengeddistricts·ofmlY tcdistdct,imgplantbelr;:;is a ;usual patitelllX()f


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                                                     AlSO
